                 Case: 1:21-cv-03676 Document #: 28 Filed: 09/03/21 Page 1 of 2 PageID #:1935
AO 440 (Rev. 05/00) Summons in a Civil Action



                                       UNITED STATES DISTRICT COURT
                                                    NORTHERN DISTRICT OF ILLINOIS



                                                                           SUMMONS IN A CIVIL CASE
          &DQYDVILVKFRP//&

                                                           CASE NUMBER:FY

                                V.
                                                           ASSIGNED JUDGE:+RQ9LUJLQLD0.HQGDOO

             -RKQ'RHV                                DESIGNATED MAGISTRATE JUDGE:+RQ-HIIUH\&XPPLQJV


                    TO: (Name and address of Defendant)


                  PDGHIRUIDQVFRPDQGDOORWKHU'HIHQGDQWVLGHQWLILHGLQ6FKHGXOH$



          YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address)
               "NBOEB0TPSJP
               3FWJTJPO-FHBM 1--$
               BNBOEB!SFWJTJPOMFHBMDPN
               .PPSTCSJEHF3E 
               1PSUBHF .*



an answer to the complaint which is herewith served upon you,                              days after service of this
summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.




     THOMAS G. BRUTON, CLERK

                                                                                         August 30, 2021

     (By) DEPUTY CLERK                                                                   DATE
                  Case: 1:21-cv-03676 Document #: 28 Filed: 09/03/21 Page 2 of 2 PageID #:1936
AO 440 (Rev. 05/00) Summons in a Civil Action
                                                                 RETURN OF SERVICE
                                                                                        DATE
          Service of the Summons and complaint was made by me(1)                                See Attachment

NAME OF SERVER (PRINT)                                                                  TITLE
                                 Amanda Osorio                                                     Attorney for Plaintiff

   Check one box below to indicate appropriate method of service

          G Served personally upon the defendant. Place where served:




          G Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age and
            discretion then residing therein.
              Name of person with whom the summons and complaint were left:

          G Returned unexecuted:




                                      Served the defendants via email as authorized by the Court's Order ECF 20 on the dates identified in the
          xG Other (specify):
                      attached Exhibit.




                                                            STATEMENT OF SERVICE FEES
TRAVEL                                                SERVICES                                                     TOTAL



                                                              DECLARATION OF SERVER

                   I declare under penalty of perjury under the laws of the United States of America that the foregoing information
          contained in the Return of Service and Statement of Service Fees is true and correct.


          Executed on       September 03, 2021
                                        Date                    Signature of Server



                                                                amanda@revisionlegal.com; 1514 Wealthy St. Suite 258 Grand Rapids, Mi 49506
                                                                Address of Server




(1) As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure.
